
25 So.3d 821 (2009)
ALLSTATE INSURANCE COMPANY
v.
FRED'S INC.
No. 2009-C-2275.
Supreme Court of Louisiana.
January 29, 2010.
Writ Granted. We reverse the court of appeal decision finding the doctrine of contra non valentem applicable to the facts presented. The court of appeal erred in finding Allstate's delay "cannot be attributable to its own neglect," an essential element in a defense to prescription based on this doctrine. Allstate's two-year delay between its discovery request and its motion to compel, plus an additional year before adding Colony to the suit, evidences a lack of due diligence on the part of Allstate, precluding application of the contra non valentem doctrine. Accordingly, we reverse the decision of the court of appeal and remand to the court of appeal for consideration of pretermitted issues not addressed in the original opinion.
JOHNSON, J., would deny.
WEIMER, J., would deny.
